      Case 4:19-cv-00180-MWB Document 525 Filed 11/06/20 Page 1 of 2




            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JAMES PIAZZA, et al.,                              No. 4:19-CV-00180

           Plaintiffs,                             (Judge Brann)
     v.

BRENDAN YOUNG, et al.,

          Defendants.

                                    ORDER

     AND NOW, this 6th day of November 2020, in accordance with the

accompanying memorandum opinion, IT IS HEREBY ORDERED that:

     1.    Defendant Mengden’s motion to quash is GRANTED.

     2.    Defendant Yochim’s motion for joinder is GRANTED.

     3.    Letters from other Defendants joining in Mengden’s motion to quash

           are noted.

     4.    The subpoena at issue is hereby quashed.

     5.    Plaintiffs are instructed to prepare a new subpoena in compliance with

           the accompanying memorandum opinion.

     6.    In order to attempt to avoid further discovery disputes and delay of

           this sort, the parties shall adhere to the following procedure:

           a.     Before serving the new subpoena on the OAG, Plaintiffs shall,

                  no later than November 16, 2020, provide a copy of the

                  subpoena to Defendants.
Case 4:19-cv-00180-MWB Document 525 Filed 11/06/20 Page 2 of 2




     b.   Defendants shall then have until November 30, 2020 to file a

          single, joint letter with the Court, if Defendants believe that

          the subpoena requests information precluded by the Court’s

          ruling, as outlined in the accompanying memorandum opinion.

          Again, any objections by Defendants are to be filed in a single,

          joint letter, specifying which Defendants join in the objections.

     c.   Before Defendants file any letter with the Court, the parties

          shall meet and confer in an effort to resolve any perceived non-

          compliance with this Court’s holding.

     d.   Should Defendants file any timely objections, Plaintiffs shall

          have until December 7, 2020 to respond via letter filed with the

          Court. The Court will then issue a ruling on any objections

          regarding the compliance of the subpoena with the Court’s

          holding before the subpoena is served on the OAG.

     e.   Should Defendants not file any objections to the proposed

          subpoena by the November 30, 2020 deadline, Plaintiffs may

          serve the subpoena on December 1, 2020, without further delay.


                                     BY THE COURT:


                                     s/ Matthew W. Brann
                                     Matthew W. Brann
                                     United States District Judge
                               -2-
